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       Sikorsky Aircraft Corporation; Sikorsky Support Services, Inc.;
   9   and United Technologies Corporation
  10                       UNITED STATES DISTRICT COURT
  11
                         SOUTHERN DISTRICT OF CALIFORNIA
  12
  13    D.F., a minor, by and through his           Case No. 13-cv-00331-GPC-KSC
  14    Guardian Ad Litem, TASHINA
        AMADOR, individually and as successor
  15    in interest to Alexis Fontalvo, deceased,   DECLARATION OF JOHN D.
        and T.L., a minor, by and through her       WAKEFIELD IN SUPPORT OF
  16    Guardian Ad Litem, TASHINA                  DEFENDANTS’ MOTION FOR
  17    AMADOR,                                     PARTIAL SUMMARY JUDGMENT
                                                    AND MOTION TO EXCLUDE
  18                       Plaintiffs,              TESTIMONY OF PLAINTIFFS’
        vs.                                         EXPERTS
  19
  20    SIKORSKY AIRCRAFT
        CORPORATION; SIKORSKY
  21    SUPPORT SERVICES, INC.; UNITED
  22    TECHNOLOGIES CORPORATION;
        G.E. AVIATION SYSTEMS, LLC;
  23    DUPONT AEROSPACE CO.; E.I.
        DUPONT DE NEMOURS AND
  24    COMPANY; PKL SERVICES INC.; and
  25    DOES 1 through 100, Inclusive,
  26                       Defendants.
  27
  28
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   1               I, John D. Wakefield, declare as follows:
   2               1.    I began working for the Sikorsky Aircraft Corporation in 1983 in the
   3   business development office with responsibilities relating to the United States
   4   Marine Corps heavy lift helicopter requirements, including the CH-53E. From 1988
   5   to 2000, I was the Program Manager for the CH/MH-53E Helicopter Program for
   6   Sikorsky. In 2000, I became Vice President for all Sikorsky U.S. Navy and
   7   International Maritime Helicopter Programs. I am also a former U.S. Marine Corps
   8   officer, CH-53 Squadron Commander and pilot, having flown approximately 3,400
   9   hours in CH-53 series helicopters. I have personal knowledge of the matters stated
  10   herein and, if called upon, I could and would competently testify thereto.
  11               2.    As Sikorsky’s CH/MH-53E Program Manager, my responsibilities
  12   included negotiating contracts and leading a team whose purpose was to meet
  13   military procurement contract requirements for the design, development,
  14   qualification and production of the CH/MH-53E helicopter, including the contract
  15   for the production and purchase of the subject CH-53E helicopter, BUNO 163077.
  16   These contracts were between the U.S. Navy and Sikorsky Aircraft, which at the
  17   time was a division of United Technologies Corporation, and which in 1994 became
  18   a wholly owned subsidiary of United Technologies Corporation. Sikorsky Support
  19   Services, Inc. (SSSI) is a separate corporation that was not involved in the design,
  20   manufacture, marketing or sale of the CH/MH-53E. My work required me to be
  21   familiar with the design and manufacturing program for the CH-53E (operated by
  22   Marine Corps) and MH-53E (operated by Navy) helicopters, the related military
  23   procurement contracts awarded to Sikorsky, the specifications used to implement
  24   the program, the engineering reports, drawings and testing completed to achieve
  25   qualification of the helicopters, and the working relationship between the Naval Air
  26   Systems Command (NAVAIR) and Sikorsky in carrying out the procurement
  27   programs. My CV is attached as Exhibit 1.
  28
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   1               3.   The facts and opinions set forth in this declaration are based on my
   2   military experience, my work at Sikorsky, and review of documents received from
   3   the U.S. Navy and U.S. Marine Corps (“USMC”) and of Sikorsky business records
   4   that were made and/or received by Sikorsky in the ordinary course of its business.
   5               4.   The CH-53A, CH-53D and RH-53D (U.S. Navy variant) were
   6   predecessor heavy lift military helicopters to the CH-53E. The CH-53A, CH-53D
   7   and RH-53D were developed in the 1960s under Navy procurement contracts in
   8   accordance with detailed specifications reviewed and approved by the U.S. Navy.
   9   Experience with the CH-53A/D helicopters in the Viet Nam conflict led to a request
  10   by the U.S. Navy and other branches for a helicopter with greater payload lift
  11   capacity. The U.S. Defense Systems Acquisition Review Council approved the
  12   Navy’s request to proceed with development of a CH-53E in November 1971. The
  13   Navy’s Specific Operational Requirement in 1967 stated their need for a new
  14   shipboard compatible, heavy lift helicopter in order to increase tactical mobility and
  15   provide much greater payload capacity. The Navy CH-53E Development Plan in
  16   1972 stated their specific purpose that the program design, develop, fabricate and
  17   demonstrate a CH-53E helicopter with increased lift capability, compatibility with
  18   Navy ships, and “retain maximum commonality” with the CH-53D. The Navy had
  19   at that point had many years of operational and maintenance experience with the
  20   earlier H-53 series aircraft and obviously desired to stick with a proven design to
  21   the extent possible. (a true and correct copy of the U.S. General Accounting Office
  22   Staff Study, CH-53E Helicopter, February 1973, see pages 7 and 12 is attached
  23   hereto as Exhibit 2).
  24               5.   The design and development of the CH-53E flowed directly from
  25   NAVAIR’s Development Plan which identified the specific CH-53E program
  26   objectives, including the objective to retain maximum commonality with the
  27   existing previous H-53 series aircraft. During my years as a military pilot I flew the
  28   CH-53A, CH-53D, RH-53D and CH-53E aircraft, and I am familiar with the design
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   1   and operation of those aircraft, and particularly the landing gear system, including
   2   the landing gear control system for each of those model aircraft. The landing gear
   3   control system on all these aircraft has the same design, with the same two interlocks
   4   in the cockpit (the landing gear control handle and the mechanical lock), the two
   5   independent weight-on-wheels switches, one per main landing gear, with all four of
   6   these interlocks being wired into the same electronic wiring system, and three
   7   separate mechanical landing gear safety pins, one for each landing gear.
   8               Accordingly, the final CH-53E landing gear design, including electrical and
   9   mechanical control components, and electrical and mechanical interlocks, was
  10   identical to the CH-53D design with minor differences due to the size of the aircraft
  11   and use of Kapton wire and a hydraulic utility module in the CH-53E. The landing
  12   gear system of the CH-53E was one that had been operated and maintained by the
  13   Navy and Marine Corps for many years with more than one million flight hours in
  14   the CH-53A and CH/RH-53D.
  15               6.    NAVAIR is the U.S. Navy’s airworthiness authority for Navy aviation
  16   and takes care of all the Navy/USMC aviation requirements, from initial design,
  17   evaluation, test and manufacture, and on to the oversight of the operation,
  18   maintenance and modification of aircraft during use in service. NAVAIR is
  19   headquartered in Patuxent River, Maryland, and is staffed with more than a 1,000
  20   engineers covering all engineering fields, including electrical engineering, to
  21   evaluate, qualify and determine the airworthiness of Navy developed aircraft and
  22   systems.         NAVAIR develops the specifications and design and qualification
  23   requirements based on the mission and operation requirements for the aircraft or
  24   system.
  25               7.    NAVAIR awarded a series of contracts to Sikorsky during the design
  26   and development of the CH-53E helicopter:
  27                     A)    Design phase contracts were for engineering feasibility studies
  28   for a modified CH-53D design, a propulsion test bed, development of engineering
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   1   drawings, and fabrication of prototypes for ground and flight testing. Sikorsky
   2   submitted all required engineering studies and drawings to NAVAIR.
   3               B)      Development phase contracts which also required all
   4   engineering data produced during this phase be provided to NAVAIR for review
   5   and evaluation.    This included hundreds of detailed engineering reports and
   6   drawings on all aspects of the design and operation of the prototype aircraft,
   7   including reports on all aircraft subsystems. The following detailed engineering
   8   reports submitted to NAVAIR for its review are examples of this exchange of
   9   information between NAVAIR and Sikorsky:
  10                 SER-13013, dated May 10, 1972 (a true and correct copy of which
  11                     is attached hereto as Exhibit 3), which provides that the landing
  12                     gear extension systems for the CH-53D, RH-53D and CH-53E will
  13                     be the same (“The RH-53D main landing gear and existing nose
  14                     gear are used on the CH-53E prototype.”);
  15                 SER 13197, dated September 9, 1974 (a true and correct copy is
  16                     attached hereto as Exhibit 4), which identified changes to the
  17                     YCH-53E prototypes which NAVAIR required for the design of
  18                     two CH-53E pre-production prototype aircraft, and which made no
  19                     changes to the landing gear control system;
  20                 an “Electrical/Electrical System Phase I Test Report” dated
  21                     October 30, 1974, SER-13066 (a true and correct copy is attached
  22                     hereto as Exhibit 5), which states that electrical power generation
  23                     components for the CH-53E are identical to CH-53D, except for
  24                     changes to accommodate a third, engine-driven generator, and that
  25                     the hydraulic system of the CH-53E is designed to use the same
  26                     landing gear retraction system as the CH-53D and RH-53D; and
  27                 SER 13065, dated February 1975, relating to the YCH-53E
  28                     (prototype helicopter) hydraulic subsystem and components (a true
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   1                       and correct copy is attached hereto as Exhibit 5).
   2                     Sikorsky Engineering Report SER 13451 dated Nov. 10, 1980,
   3                       also submitted to the Navy, similarly states that the landing gear
   4                       “for the CH-53E helicopter is basically the same configuration as
   5                       the RH-53D except for minor structural changes in piston,
   6                       trunnion, axle, and wheels and the addition of a visual fluid lever
   7                       indicator.” (a true and correct copy is attached hereto as Exhibit 6
   8                       – see SIK014087)
   9               8.   In its development of the CH-53E, NAVAIR officials and engineers
  10   held hundreds of meetings with Sikorsky engineers and program management
  11   personnel on all aspects of the design specification, including items that would be
  12   changed from the CH/RH-53D.              These meetings included safety meetings,
  13   conferences and Preliminary and Critical Design Reviews.                  NAVAIR or its
  14   designated USG personnel assigned to, and residing at, the Sikorsky facility
  15   (NAVPRO – Naval Procurement, now called DCMA), reviewed all the engineering
  16   drawings, test plans and test reports in detail. They had technical interchange
  17   meetings during the design, and reviews of design following testing so they could
  18   ensure the helicopter is compliant with the government’s specifications.
  19               9.   NAVAIR proceeded to contract further with Sikorsky Aircraft for the
  20   continued design and development of the CH-53E. Contract N00019-73-C-0228 was
  21   a Research & Development contract which included the Navy’s CH-53E Detailed
  22   Specification, SD-552-3, and came in two parts:
  23                        Phase I was a Research & Development Contract for Sikorsky
  24                          Aircraft to produce the design (drawings), complete the
  25                          development, and conduct trade off studies for CH-53E. (with
  26                          FY-73 funding).
  27                        Phase II was Research & Development Contract for Sikorsky
  28                          Aircraft to fabrication of two prototype helicopters for Sikorsky
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   1                           and USN to conduct ground and flight testing. (YCH-53E 159121
   2                           & 159122)
   3               10.   Beginning in 1974, the design phase YCH-53E prototype underwent
   4   extensive flight testing with both Sikorsky and Navy test pilots and engineers, which
   5   consisted of multiple hundreds of flight test hours. All aspects of the helicopters
   6   were tested, including sub-system evaluations. NAVAIR issued Naval Air Test
   7   Center Deficiency Reports for any deficiency discovered during flight
   8   testing. Meetings were held between NAVAIR and Sikorsky engineers and
   9   program personnel concerning the reports. Resolution and design decisions were
  10   always made by NAVAIR.
  11               11.   Following the design review and flight testing of the design prototypes,
  12   the Detailed Specification SD-552-3 was revised and updated. The changes were
  13   documented in Sikorsky Engineering Report 13197 (Exhibit 4). NAVAIR awarded
  14   another contract for fabrication of two additional “pre-production” prototypes based
  15   on the revised Detail Specification. These prototypes were designated BUNO
  16   159876 and 159877, and they also underwent additional hundreds of hours of flight
  17   testing by Navy test pilots, which results were evaluated by NAVAIR engineers.
  18               12.   As a result of Navy evaluation and testing of the pre-production
  19   prototypes, NAVAIR made additional changes to the Detailed Specification which
  20   would control the production helicopters which the Navy chose to order. The
  21   changes were documented in Sikorsky Engineering Report SER 13300, dated
  22   September 9, 1977 (attached as Exhibit 7 is a true and correct copy of this report).
  23   One significant change made by NAVAIR was the requirement that Kapton wiring
  24   be incorporated into all electrical harnesses pursuant to MIL-W-81381 (Ex. 7 at
  25   ¶3.1.46 (SIK013611)). The U.S. Navy approved the CH-53E for service use, with
  26   a specific requirement to use Kapton wiring, on April 15, 1980.
  27               13.   Beginning in approximately 1978, the Navy entered into a series of
  28   production contracts with Sikorsky based on the finalized production specification
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   1   issued by NAVAIR. The Navy procured a total of 229 CH/MH-53E aircraft under
   2   these production contracts, which were ordered in twenty-one production lots.
   3   Attached as Exhibit 8 is a true and correct copy of the production log which
   4   documents each H-53E aircraft ordered, including the contract and lot number and
   5   DD-250 acceptance date. Changes to the Detail Specification were identified
   6   during the proposal phase for each respective contract. Lots 1-8 were governed by
   7   separate, one-year contracts. Lots 9-12, consisting of 26 CH-53E and 29 MH-53E
   8   helicopters, were governed by a single multi-year contract.
   9               14.   The subject helicopter, BUNO 163077, was ordered in Lot 12, under
  10   Contract Number N0010-85-C-0066, pursuant to Detailed Specification SD-552-3-
  11   9 which incorporated military specifications including MIL-W-5088F (“Wiring,
  12   Aerospace Vehicles”) which, in-turn, incorporated 66 additional military
  13   specification and standards concerning the design and construction of electrical
  14   systems. A true and correct copy of the production contract for Lots 9-12, dated
  15   April 30, 1985; Detailed Specification SD-552-3-9; and MIL-W-5088F, are each
  16   attached respectively as Exhibits 9 - 11. Section 3.16.5 of SD-552-3-9 required the
  17   use of wire per MIL-W-81381 (Kapton/polyimide insulation).
  18               15.   Per the contract, Sikorsky is prohibited from making any changes to
  19   the aircraft system without government approval. (See Exhibit 9, Contract Number
  20   N0010-85-C-0066, section H-7 at p.7-32 (SIK06938)
  21               16.   The Navy closely monitors the production of helicopters manufactured
  22   by Sikorsky. This process includes, but is not limited to, reviewing and approving
  23   every drawing before it is used for production, reviewing and approving all test plan
  24   and the results of those tests, reviewing and approving every flight test by Sikorsky
  25   personnel, conducting quality inspections during manufacture, reviewing the build
  26   file, and ensuring the helicopter is compliant with the government’s specifications.
  27   Full-time on-site U.S. government personnel (NAVPRO, now DCMA) assigned to
  28   the Sikorsky facility conduct a final quality acceptance inspection and Navy and
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   1   Marine Corps pilots fly each aircraft, to make sure the aircraft is built the way
   2   NAVAIR requires.
   3               17.   The production build of the subject helicopter BUNO 163077 was
   4   monitored and approved by Navy engineers, inspectors, manufacturing personnel
   5   and pilots stationed on site at Sikorsky in Stratford, Connecticut, who confirmed
   6   that the aircraft conformed to the contract and to Detailed Specification SD-552-3-
   7   9.
   8               18.   Following the NAVAIR’s final inspection and flight testing certifying
   9   compliance with all specifications, the government accepted the subject aircraft on
  10   September 30, 1990. Attached as Exhibit 12 is a true and correct copy of the signed
  11   DD-250 and related correspondence reflecting government acceptance. Sikorsky
  12   never received any notice from the government regarding any deficiency or failure
  13   to meet the government’s specifications.
  14               20.   Sikorsky did not provide, and was not contractually required to
  15   provide, any manuals to the Navy for the CH-53E. The Detailed Specification states
  16   that these publications “will be furnished by the Government as specified in the
  17   publications requirements of the contract.” (See Exhibit 10, SD-552-3-9, ¶¶ 3.23.3)
  18               22.   Not long after the Navy began operating CH-53E helicopters, and
  19   several years before manufacture and delivery of the subject helicopter BUNO
  20   163077, the Navy began experiencing an increase of electrical interconnection
  21   problems which NAVAIR concluded was primarily a problem with Kapton
  22   wiring. Based on this experience, Sikorsky made formal requests to the Navy that
  23   it be permitted to submit an engineering change proposal to replace Kapton wiring.
  24   Attached as Exhibits 13 and 14 are copies of Sikorsky letters to the Navy in this
  25   regard, which I understand were produced by the Navy during this litigation, dated
  26   December 15, 1981, and November 10, 1986. (MIL259030 and MIL247341) The
  27   Navy declined Sikorsky’s requests, and stated in one internal memorandum dated
  28   July 22, 1987 regarding the “status of Kapton wire in H-53 aircraft” that “C/MH-
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  1   53E contains Kapton but is under a multiyear procurement (FY 1986-89). We do
  2   not have a firm quote from Sikorsky Aircraft, but to modify the multiyear
  3   specification at this time would be both prohibitively expensive and untimely.”
  4   Attached as Exhibit 15 is a true and correct copy of this memorandum which I
  5   understand was produced by the Navy during this litigation. (MIL152795) At a
  6   meeting in November 1998, Sikorsky recommended, for the third time, that all
  7   wiring be replaced in the CH/MH-53E but the Navy again rejected this
  8   recommendation. Attached as Exhibit 16 is a true and correct copy of a November
  9   27, 1998 meeting minutes memorandum which I understand was produced by the
 10   Navy during this litigation.
 11               23.   In 1989, the Navy decided to remove Kapton wire from the CH-53E
 12   specification and substitute Spec 55 wire, as Sikorsky had urged in 1981, 1986 and,
 13   later, in 1998. However, the Navy determined the change would start with LOT 13.
 14   Attached as Exhibit 17 is a true and correct copy of excerpted pages from the
 15   revised specification referencing this production change. Since BUNO 163077 was
 16   manufactured as part of LOT 12, Sikorsky was still required by the government to
 17   manufacture that helicopter using Kapton wiring.
 18               24.   Although the Navy switched to the use of Spec-55 wire for production
 19   aircraft beginning with Lot 13, the Navy decided not to replace Kapton wiring in
 20   helicopters already produced or that were being produced as part of LOT 12,
 21   including the subject helicopter BUNO 163077. In a memorandum dated July 7,
 22   1987, the Navy stated that although other aircraft may be retrofitted with new
 23   wiring, removal from the CH-53E “would be disapproved.” (Enclosure 2 to letter)
 24   A true and correct copy of this July 7, 1987 memorandum which I understand was
 25   produced by the Navy in this litigation is attached as Exhibit 18. (MIL152796-800)
 26   It was not until 2004 that the Navy began retrofitting old CH-53E helicopters under
 27   a Kapton Replacement Program, which I understand is currently scheduled to be
 28   completed by the end of 2017.
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  1          25.    In a memorandum dated February 6, 1989, the Navy did authorized
  2   Navy and Marine Corps to use Spec-S 5 wiring as a substitute for Kapton, but only
  3   for “repair, modification, engineering changes and replacements...” A true and
  4   correct copy of this Feb. 6, 1989 memorandum which I understand was produced
  5   by the Navy in this litigation is attached as Exhibit 19. (MIL000006) The build
  6   records for the subject aircraft reflect that a portion of the subject landing gear
  7   control wiring (total length 437 inches) was composed of 70 inches of Spec 55
  8   wiring from splice group SAQ-34 to P494-A at the utility hydraulic module. This
  9   section of the subject wire is part of the main rotor pylon wire harness (part number
 10   65562-09303).      The Navy expressly approved this variance in wiring per the
 11   engineering change order listed in the build records. Attached as Exhibit 20 is a
12    true and correct copy of the build record file which indicates the specific change
13    order. The reason for this change is not stated but during this timeframe there was
14    a shortage of Kapton wiring and that is the reason for the substitution of Kapton for
15    $pec-55. The rest of the subject wire (367 inches) was required to be Kapton per
16    the government’s SD-552-3-9 specification, section 3.16.5.           Thus, the Kapton
17    portion of the subject wire (367 inches) is almost certainly the original, 20 year old
18    wire, while the Spec-S 5 portion (70 inches) could also be the original wire or per
19    the Navy’s February 6, 1989, could also be a more recent replacement per a USMC
20    maintenance task that occurred son;etime between delivery in 1990 and the accident
21    inMarch20ll.
22           I declare under penalty of perjury under        laws of the United States of
                                                                      th
23    America that the foregoing is true and correct. E ecu ed this        day of June, 2017,
24    at Jupiter, Florida.
25
26
27
28
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